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TRULINCS 66425019 - WILLIAMS, JOHN TODD - Unit: MNA-A-A

FROM: 66425019

TO:

SUBJECT: BIVENS COMPLAINT
DATE: 06/14/2018 08:51:32 AM

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
Xx

JOHN T WILLIAMS

WILLIAMS, SCOTT & ASSOCIATES LLC
WSA, LLC

SUPREME IMPORTS LLC

LEGACY PAYMENT SYSTEMS LLC
STERLING ROSS & ASSOCIATES LLC C V Dear 6 *
Plaintiffs, BI OM IN
DOCKET NUMBERS

14-CR-784 (S.D.N.Y.)
-V- 14-CV-1599 (N.D.G.A.)
Preet Bharara (USAO), et al.,
Marcela C Mateo (FTC), et al., eee

Mark S Demarco (CJA), et al., ee \

Michael Fuqua (Receiver), et al., <i SDNY \

Catherine O Wolfe (Appeal Clerk), et al., RAEN T ce

Ruby Karjick (Clerk of Courts NY), et al., CUMEN A EV JED \

James N Hatten (Clerk of Courts, GA), et al., R NICAL

Defendants, eee \
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I. PARTIES: pate FILE == ~

A. Name and address of Plaintiffs:

John T Williams Williams, Scott & Associates LLC Legacy Payment Systems LLC

FCI Marianna WSA, LLC 3275 Wyntree Dr

PO Box 7007 Supreme Imports LLC Norcross, Ga 30071

Marianna, FL 32447 Sterling Ross & Associates LLC

Il. LIST OF DEFENDANTS:

Marcela C Mateo, Robin Rock, Michael S Lewis, Richard Kaplan, Michael Fuqua, et al., Daniel C Parrington, All CJA's
Jennifer D Odor, Thomas $ Richey, Catherine O Wolfe, Ruby Krajick, James N Hatten, Jill Jefferies, Preet Bharara, et al.,
Richard Zabel, Daniel Tehrani, Jonathan Cohen, Sarah Paul, Jennifer Gachiri, Benet Kearney, Nathan Kitchens, Pretrial Lady
Jeffery A Brown, Brian Comisky, Kurt Dirker, Darrin Kibel, Timothy Brody, Joseph D Stites, Kevin Song, Richard Frankel

Tom Vogelsong, The FBI and twenty additional agents who search Mr. Williams's office with a facially invalid warrant.

== BRIEF STATEMENT OF LEGAL CLAIMS:
Mr. Williams is suing all the defendants listed in their "INDIVIDUAL CAPACITIES". The Prison Litigation Reform Act of
1996 ("PLRA") requires that no prisoner confined in jail bring a lawsuit until all avialable administrative remedies are

exhausted, 42 USC 1997e, see Woodford v. Ngo, 548 US. As of June 13, 2018 all Mr. Williams's remedies have been

exhausted, (BP-8,9,10,1 1).
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1. Violation of the 4th and 5th amendments.

2. Conspiracy to commit civil rights deprivation under 42 U.S.C. 1985.

3. Deprived of life, liberty and property without due process of law 42 U.S.C. 1983.
4. Deliberate indifference.

iV. STATEMENT OF FACTS:

At the outset it should be known that the FTC; Marcela Mateo and receiver Michael Fuqua conspired with the FBI and
Preet Bharara of the USAO to manufacture a criminal case against Mr. Williams. Judge Janet King only gave Michael Fuqua
and the FTC the right to enter Mr. Williams's property and seize his computers. The Judge never gave that right to the FBI,
so the only way the FBI and the Southern District of NY could have received that information to use for their discovery, is if
they got it from Michael Fuqua and Marcela Mateo illegally. This was how the fraudulent criminal case against Mr. Williams
was created, the defendant still remains in prison for this heinous act. This is a direct violation of Bivens 42 U.S.C. 1983
and Mr. Williams's civil rights. This complaint will outline some but not all of the constitutional violations that have been
carried out by Marcela Mateo of the FTC , Preet Bharara USAO, The Administrative office of the Courts, and Timothy Brody

of the FBI. A new startling discovery was just found by Mr. Williams, while going threw some old data which was withheld by

the USAO and the defendants fake lawyers. There were “TWENTY FBI AGENTS" searching Mr. Williams's office and only
three

FTC agents. All Mr. Williams's property was catalogued by the FBI not the FTC, this information will be included to this
lawsuit. There is no doubt this was an illegal search and seizure with no probable cause and malicious prosecution.

Since Mr. Williams's appeal is still not decided and more facts are still being discovered, this Bivens will not contain
every act of government misconduct. There is no doubt in this case that Marcela Mateo, Preet Bharara and Michael Fuqua
along with Clerks office conspired with FBI agents out of the Southern District of New York to deprive Mr. Williams of his
constitutional rights as a American citizen. Currently Mr. Williams's direct appeal case out of New York is still pending, case
no; 16-4186. All the EVIDENCE and PROOF against the defendants listed in this bivens complaint is in the direct appeal and is
available to the public. However the acts of misconduct are so heinous and atrocious in nature that the government has
sealed most of the direct appeal to try and protect the integrity of the government institution.

In order to state a claim in the context of a Bivens and section 1983, a plaintiff must establish (1) he was deprived of a

right secured by the constitution or laws of the United States, and (2) the alleged deprivation was committed under color of

federal or state law 42 U.S.C. 1983 Polk County v. Dodson, 454 U.S. 312. Listed below are constitutional violations
perpetrated by Preet Bharara (USAO, Office), Marcela Mateo (FTC, Office) and Timothy Brody (FBI, Office) along with other
government employees. The acts listed below are backed by proof in Mr. Williams's appeal brief.

1. Preet Bharara and the USAO conspired with the FTC and the FBI to create a criminal case against Mr. Williams and his
company for acts that were known to be a civil matter. (4th, Sth amendment violations)
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2. Marcela Mateo and Robin Rock forged Mr. Williams's signature on a preliminary injunction on June 19, 2014. (4th, 5th and
7th amendment violations)

3. Michael Fuqua deliberately gave the FBI of New York Mr. Williams's office property and servers which was then used for
discovery in the made up criminal case against him. The FBI never had a legitimate search warrant. (4th amendment violation)

4. The FTC and Marcela Mateo blatantly froze Mr. Williams's company merchant account improperly, and stole 25k from an
investment account which had nothing to do with the companies that were being sued by the FTC. (4th, 5th, 7th amd.)

5. Michael Fuqua and others seized company information from Supreme {mports lic, along with other companies causing these
businesses to go out of business. Car titles were taken and never returned.( 4th, 5th, 7th amd.)

6. The FTC and Robin Rock recklessly sent out service letters to Mr. Williams's home knowing that the plaintiff was being
held in NY. This was the only reason the Judge granted a default judgment of 3.9 million dollars and banishment from the
collections industry.(5th and 7th amendment violations)

7. The FTC did not follow proper due process procedures when they executed the very first temporary injunction. (4th, 5th and
7th amendment violations)

8. Jeffery Brown AUSA of the Northern District of Georgia blatantly signed his name to a fraudulent application and affidavit for
search warrant and search warrant case no; 14-MC-500. (4th amd.)

9. James Hatten Clerk of Courts in GA, allowed a countless amount of fraudulent documents to be filed to the courts, or so they
appeared to be filed. ( 4th, 5th amd.)

10. Daniel Tehrani never had a legitimate indictment, complaint, or arrest warrant or arrest under rule 40. (4th, 5th amd.)
11. Preet Bharara and the USAO willingly and knowingly placed Mr. Williams in prison for a civil matter. (4th, 5th amd.)

12. Preet Bharara and the USAO held Mr. Williams excessively in pretrial detention, not allowing him to bail out to protect
himself. (4th, 5th, 8th amd.)

13. Preet Bharara and the USAO intentionally had Mr. Williams confined to the SHU during trial. (Shock Tactic). (8th amd.)

14. The USAO conspired with the BOP's mailroom to tamper and hinder Mr. Williams's mail denying him access to the courts.
(4th, Sth amd.)

15. The BOP deliberately classified Mr. Williams to send him to a violent FCI facility. Butner low was recommended, but the
plaintiff was scored with 5 extra points. (4th, 5th amd.)

16. FCI Marianna and the Marianna post office tampered with Mr. Williams's mail.(5th amd.)

17. The USAO conspired with the clerks office of the S.D.N.Y. to violate due process by altering and changing docket
information.(5th amd.)

18. Catherine Wolfe violated Mr. Williams's due process by allowing the USAO to seal documents without proper procedure,
and deliberately filing incorrect motion orders and docket entries. (5th, amd)

19. Ruby Krajick of the clerks office of S.D.N.Y. knowingly changed docket information in the attempt to violated due process.

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(OUT arnt)

20. Preét Bharara and the USAO violated due process when they submitted known fraudulent documents in Mr. Williams's
appeal, fake search warrant, fake arrest warrant. (4th, 5th, 8th amd.)

21. Whitman Dodge allowed the USAO of NY and Nathan Kitchens to extradite Mr. Williams without a sufficient warrant. (4th,
5th amd.)

CONCLUSION:
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The following AUSA'S and government employees have been told to resign voluntarily and some have been pushed out
because of there heinous misconduct in this particular case. There will be many more people to join this list once this whole
case is revealed for what it was, a scheme to imprison a "INNOCENT" African American Citizen.

. Phreet Bharara (Attorney General)

. Richard Zabel (Deputy AG)

. Jonathan Cohen (AUSA)

. Sarah Paul (AUSA)

. Marcela Mateo (FTC, AUSA)

. Jeffery A Brown (AUSA)

. All CJA's on this case have been fired.

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V. RELIEF BEING SOUGHT:

1. For every defendant named in this Bivens claim are being sued in their individual capacity, Mr. Williams demands the sum
of 5 Million dollars for each participant.

2. For every federal defendant named in this Bivens claim to be removed from there steady government job, they only invite
anarchy.

3. For every federal defendant to be imprisoned for the same amount of time that Mr. Williams has spent in prison, that's
only fair.

4. For every CJA, ASUA, FBI Agent, and Court Officer to be disbarred from practicing law for life.
VI. BASIS FOR FEDERAL JURISDICTION:

42 U.S.C. 1983, is a matter of a bivens for the constitutional violations. Mr. Williams has an assortment of
constitutional violations listed in this bivens complaint such as violations of the 4th amendment which protects against
unreasonable search and seizures. Along with 5th, 6th, 8th and 14th amendment violations for due process violations
along with Equal Protection Clause.

| declare under the penalty of perjury that the forgoing | is true and correct.
Executed in Marianna, FL on Jone LS ,2018
Signed TZ KL LG

C/; Signature of Plaintiff
Fedeenl Carrseteus el Tisth fobs:

Name of Prison Facility

FC) MAR wwrg

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Address

he V2si/?

Prison ID#

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